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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             Chief Judge Philip A. Brimmer


  Civil Action No. 17-cv-02887-PAB-STV

  JULIE CARLSON,

        Plaintiff,

  v.

  ANTHONY MORABITO;
  KIP ALBANESE;
  NATHAN SANTOS;
  TOM HALPER;
  CHRIS WHITE;
  JOSHUA M. KLIMASEWISKI;
  ALISIA KLIMASEWSKI;
  COLLEEN MAHONEY;
  TELLURIDE R-1 SCHOOL DISTRICT;
  VIRGINIA ACHTER;
  APEX CONSTRUCTION, LLC;
  CONNECT SKIS, LLC;
  JOHN DOE DEFENDANTS ONE THROUGH FIVE;
  MARY DOE DEFENDANTS ONE THROUGH FIVE; and
  DOE INSTITUTIONAL DEFENDANTS ONE THROUGH FIVE,

        Defendants.


                                          ORDER


        This matter is before the Court on the Request for Entry of Judgment Pursuant to

  Fed. R. Civ. P. 58(d) [Docket No. 203] filed by defendants Town of Mountain Village,

  Colorado, Chris Broady, Nathan Santos, and Kip Albanese (the “T own defendants”).

  On September 30, 2020, the Court ordered plaintiff’s counsel, George Allen (“Allen”), to

  pay the Town defendants reasonable attorneys’ fees and costs in the amount of


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  $31,830.00. Docket No. 198. On December 14, 2020, the Town defendants moved

  the Court to enter judgment under Fed. R. Civ. P. 58(a) and (b)(2). Docket No. 203.

  Allen has not responded.

  I. BACKGROUND

        This case arose out of the breakdown of the marriage between plaintiff and

  defendant Brian Carlson. Plaintiff alleged that, due to “an unlawful and

  extortionate conspiracy . . . organized and implemented by her former husband,” she

  was wrongfully jailed and otherwise prevented from having contact with her children.

  Docket No. 68 at 12, ¶ 10. On December 3, 2017, plaintiff filed this action. Docket No.

  1. In the Second Amended Complaint, plaintiff asserted five claims for relief: (1)

  damages for violations of the Racketeer Influenced and Corrupt Organizations Act of

  1970 (“RICO”), 18 U.S.C. §§ 1961-1968; (2) equitable relief for violations of RICO; (3)

  damages and forfeiture of property under the Colorado Organized Crime Control Act

  (“COCCA”), Colo. Rev. Stat. §§ 18-17-106 et seq.; (4) damages under the Civil Rights

  Acts of 1871, 42 U.S.C. §§ 1981-1988; and (5) injunctive relief. Docket No. 68 at

  74-81, ¶¶ 337-361.

        Defendants Carlson, the Town of Mountain Village, Chris Broady, Kip Albanese,

  Nathan Santos, Colleen Mahoney, Telluride R-1 School District, and Tom Halper filed

  or joined motions to dismiss. Docket Nos. 72, 75, 101, 106, 124, 125, 129. Def endants

  Anthony Morabito, Joshua Klimasewski, Alisia Klimasewiski, Virginia Achter, Apex

  Construction, LLC, and Connect Skis, LLC have not entered appearances. On March

  25, 2019, the Court entered an order granting the motions to dismiss by Carlson, the

  Town of Mountain Village, and Chris Broady. Docket No. 137 at 16. That same day,

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  twenty-seven minutes after the Court entered its order, plaintiff filed a “notice of

  dismissal” of the case pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Docket No. 138. On

  April 18, 2019, the Court entered final judgment, dismissing with prejudice plaintiff’s

  claims against defendants Town of Mountain Village, Chris Broady, and Carlson.

  Docket No. 144 at 2.

         On April 26, 2019, the Town defendants filed a motion seeking attorney’s fees

  from plaintiff’s counsel, George Allen, under 28 U.S.C. § 1927. Docket No. 147. On

  March 19, 2020, the Court entered an order granting in part and denying in part Town

  defendants’ motion for attorney’s fees, finding that sanctions were appropriate under

  Section 1927 as to the RICO claim brought against them by plaintiff. Docket No. 193 at

  11. The Court ordered Allen to pay all reasonable fees and costs incurred as a result of

  his pursuit of the RICO claim after Town defendants filed their first motion to dismiss.

  Id.

         On May 15, 2020, the Town defendants filed an affidavit regarding fees and

  costs incurred. Docket No. 194. Allen did not respond to this af fidavit. On September

  30, 2020, the Court found the attorney’s fees and costs reasonable and ordered Allen

  to pay them in the amount of $31,830.00. Docket No. 198 at 2. On Octobe r 14, 2020,

  defendant Telluride R-1 School District filed a motion for judgment regarding an award

  of reasonable attorney’s fees under Rule 11 and Section 1927 that Magistrate Judge

  Varholak entered against Allen on December 13, 2019. Docket No. 200. The Court

  granted this motion and entered judgment in favor of Telluride R-1 School District and

  against Allen. Docket Nos. 201, 202. Town defendants seek the same relief in their

  motion. See Docket Nos. 200, 203.

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         The Town defendants cite Rule 58(a) and (b)(2) to support their motion for

  judgment. Docket No. 203 at 2. Rule 58(a) states that “[e]very judgment and amended

  judgment must be set out in a separate document, but a separate document is not

  required for an order disposing of a motion . . . (3) for attorney’s fees under Rule 54.”

  Fed. R. Civ. P. 58(a). Rule 58(b)(2) states that “[s]ubject to Rule 54(b), the court m ust

  promptly approve the form of judgment, which the clerk must promptly enter

  when . . . (B) the court grants other relief not described in this subdivision (b).” Fed. R.

  Civ. P. 58(b)(2). Rule 58(d) allows a party to request that a judgment be “set out in a

  separate document as required by Rule 58(a).” Fed. R. Civ. P. 58(d).

         The Court has previously considered whether a separate judgment is appropriate

  in this circumstance. See Docket No. 201. The Court will not repeat its discussion from

  the previous order, but rather adopts that reasoning and grants Town defendants’

  motion. The Court enters judgment for the Town defendants against Allen in the

  amount of $31,830.00.

         Accordingly, it is

         ORDERED that the Request for Entry of Judgment Pursuant to Fed. R. Civ. P.

  58(d) [Docket No. 203] filed by the Town of Mountain Village, Colorado, Chris Broady,

  Nathan Santos, and Kip Albanese is GRANTED.

  DATED January 12, 2021.
                                             BY THE COURT:



                                             PHILIP A. BRIMMER
                                             Chief United States District Judge



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